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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                                     CASE NO. 2:18-cv-1380-GGG-JVM
                                                            c/w 19-2227; 19-2230; 19-10462
VERSUS
                                                            SECTION: T
STARR SURPLUS LINES INSURANCE
COMPANY                                                     DIVISION: 1

                                                            JUDGE: GREG GUIDRY

                                                            MAGISTRATE JUDGE: JANIS VAN
                                                            MEERVELD
                                                            (Applies to: ALL CASES)

     THE JUNG, L.L.C.’S MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
                 COMPLIANCE WITH SUBPOENA DUCES TECUM

MAY IT PLEASE THE COURT:

          The Jung, L.L.C. (“Jung”) respectfully submits this Memorandum in Support of its Motion

to Compel Compliance with Subpoena Duces Tecum, which seeks an order from this Court

compelling Madsen, Kneppers & Associates, Inc. (“MKA”), a scheduling expert retained by the

insurers to assist with loss adjustment, to comply with the entirety of Jung’s Subpoena Duces

Tecum (the “Subpoena”).1 In response to the Subpoena, on January 10, 2020, MKA provided Jung

with a letter containing general, boilerplate objections to the Subpoena as a whole.2 This letter did

not, however, contain any individualized objections, nor did it attach any responsive documents to

the eight (8) requests made in Jung’s Subpoena. This Court should compel MKA to provide

documents responsive to Jung’s Subpoena because: (1) MKA’s general, boilerplate objections are

far too broad and not directed at any of the eight, specific requests made in the Subpoena; and (2)

the documents in MKA’s possession related to the Jung Hotel are relevant because: (a) the


1
    See Exhibit A, Subpoena Duces Tecum to MKA.
2
    See Exhibit B, January 10, 2020 Email and MKA Letter.
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Defendants retained MKA as a consultant in this case, (b) MKA’s employee Christopher Hrach

prepared a Schedule Delay Analysis for the insurers, and (c) on December 20, 2019, the

Defendants’ identified Mr. Hrach as a witness they may call in the litigation.3

I.       Law and Argument

         a. MKA should be compelled to provide all responsive, non-privileged documents in
            its possession.

         The Federal Rules of Civil Procedure take a broad approach with discovery and provide

that parties may “obtain discovery regarding any non-privileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case . . . .”4 If the information or

documents sought may lead to the discovery of admissible evidence, they are considered relevant

and discoverable.5 And these rules do not only apply to the parties in the litigation. Indeed, a

party may serve a subpoena upon a non-party commanding the production of documents and

seeking an order compelling the production of documents should the non-party fail to comply with

the subpoena.6

         Here, Jung’s Subpoena seeks eight, specific categories of documents that are relevant to

this case under the Federal Rules of Civil Procedure. The Defendant Insurers retained MKA in

this matter prior to litigation being filed, and MKA was involved in the adjustment of the claim

well before the litigation began.7 MKA’s employee, Christopher Hrach, provided a Schedule

Delay Analysis Report that was sent to the Defendants’ insurance adjuster, Aaron Prefontaine.8


3
  See Exhibit C, Insurers’ Witness List.
4
  Fed. R. Civ. P. 26(b)(1).
5
   See id.; see also Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005) (“Relevancy is broadly
construed, and a request for discovery should be considered relevant if there is ‘any possibility’ that the information
sough may be relevant to the claim or defense of any party”).
6
   See Fed. R. Civ. P. 45.
7
  See Exhibit D, May 5, 2017 E-mail from Christopher Hrach of MKA to Grayson Bultman of The McDonnel
Group, L.L.C., Bates Labeled DEFENDANTS_004593 TO 004595.
8
  See Exhibit E, April 4, 2019 MKA Schedule Delay Analysis Report, Bates labeled DEFENDANTS_019035 TO
019044.

                                                           2
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Delays to the schedule caused by the various covered loss events in this case and the Defendants’

alleged bad faith in adjusting the claim are critical issues set to be tried in the case. Moreover, the

Defendants listed Mr. Hrach as a witness who may testify at trial.9 There can be no doubt that

documents concerning MKA’s involvement in the Jung Hotel insurance claim are relevant and

reasonably calculated to lead to the discovery of admissible evidence. MKA’s assertion that the

Subpoena seeks documents related to separate subrogation litigation is baseless, as MKA was

involved in the Jung Hotel insurance claims prior to litigation.

        Jung’s Subpoena requests specifically relate to any work or services performed by MKA

on behalf of the Defendants and their services rendered in adjustment of the insurance claim.

During a meet and confer between Jung and MKA’s counsel on January 13, 2020, MKA offered

only to provide a list of documents, but not the actual documents that Jung requested.

Subsequently, counsel agreed to provide some documents but would not identify to what Subpoena

requests it was responding or not responding.10 Under the Federal Rules, however, MKA must

provide the documents because the information sought is relevant and reasonably calculated to

lead to the discovery of admissible evidence. If MKA believes that are specific privileges

applicable to the documents in their possession, they must identify those privileges and produce

non-privileged documents.

        MKA, however, has not identified any specific privilege or basis for withholding these

documents. Instead, MKA responded to the Subpoena with a letter containing general, boilerplate

objections to the Subpoena as a whole.11 Some of these general, boilerplate objections include:

               “The documents sought in the Subpoena are overbroad, unduly burdensome, and
                are not limited in time.”


9
   See Exhibit C, Insurers’ Witness List.
10
    See Exhibit F, January 13, 2020 Email Correspondence Between Jim Warren and Darnell Bludworth.
11
    See Exhibit B, January 10, 2020 MKA Letter.

                                                      3
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                 “Subpoena seeks documents that are confidential, proprietary, trade secret, and/or
                  constitutionally protected business information or documents.”

                 “[D]ocuments are protected by the attorney-client privilege, work product doctrine,
                  and/or any other applicable privilege or protection, including documents prepared
                  in anticipation and/or in furtherance of this litigation and/or subsequent to the time
                  this litigation was filed.”

                 “[D]ocuments that are not relevant or proportional to the needs of this case.”12

         These generalized objections are plainly insufficient to justify withholding the entirety of

responsive documents in MKA’s possession. First, when a non-party is claiming privilege as an

objection to a subpoena, the non-party must “expressly make the claim” and “describe the nature

of the withheld documents, communications, or tangible things in a manner that, without reveling

information itself privileged or protected, will enable the parties to address the claim.”13 MKA

merely asserted boilerplate privilege language and did not in any way describe the documents or

extent of the privilege, which is insufficient to justify withholding relevant documents based on a

privilege assertion.14

         As for the other objections asserted by MKA, they are also far too general and overly broad

to justify withholding all of MKA’s responsive documents. A “party resisting discovery ‘must

show specifically how . . . each [] [request] is not relevant or how each question is overly broad,

burdensome or oppressive.’”15 Merely asserting that a discovery request is “‘overly broad,

burdensome, oppressive and irrelevant’ is ‘not adequate to voice a successful objection.’”16 Again,

MKA failed to provide any support or explanation for these generalized objections. MKA merely



12
   Id.
13
   Fed. R. Civ. P. 45(e)(2).
14
   See Auto Club Family Ins. Co. v. Ahner, No. CIV.A. 05-5723, 2007 WL 2480322, at *5 (E.D. La. Aug. 29, 2007)
(“a privilege claim is not self-executing. It requires more proof than a conclusion by the party asserting the claim (or
his attorney) that it is justified”) (internal citation omitted).
15
   McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1980) (internal citation
omitted).
16
   Id.

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made these broad objections and offered no additional basis for withholding documents on these

grounds, which is also insufficient to justify its failure to produce responsive documents to the

Subpoena.

        Lastly, it is important to note that Jung’s initial attempt to serve MKA with the Subpoena

failed due to no fault of Jung. Indeed, on December 27, 2019, Jung attempted service on MKA’s

Louisiana registered agent but service was refused and Jung was informed that MKA’s Louisiana

registered agent lives in Dallas, Texas. As a result, Jung was required to take additional time

ensuring service was made on MKA, which it was able to do after several attempts on January 2,

2020. Thus, MKA’s assertion that the Subpoena does not allow sufficient time is simply a result

of MKA’s designation of a registered agent who does not reside in this State and is not a valid

basis for failing to produce any documents in response to the Subpoena.

II.     Conclusion

        MKA provided loss adjusting services to the insurers regarding the Jung Hotel and the

insurance claims in this case. MKA is also listed as a witness for the insurers in this case. As

such, the documents requested in Jung’s Subpoena are relevant to this case. Given the relevant

nature of the documents requested by Jung and the liberal approach the Federal Rules take

regarding discovery, MKA was required to provide specific, detailed objections in order to justify

withholding such documents based on privilege or some other basis. However, MKA failed to do

so and merely provided general, boilerplate objections. These objections are plainly insufficient

to justify MKA’s failure to provide any documents in response to Jung’s Subpoena. Accordingly,

Jung respectfully requests that this Court grant this Motion and enter an order compelling MKA

to provide all responsive, non-privileged documents in its possession in response to the Subpoena.




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                                             Respectfully submitted,

                                             _/s/ James M. Garner______________
                                             James M. Garner (#19589) T.A.
                                             Peter L. Hilbert, Jr. (#6875)
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                                             COUNSEL FOR THE JUNG, L.L.C.


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by depositing same in the U.S. mail, properly addressed and postage prepaid,

and/or by electronic mail, this 15th day of January, 2020.




                                                             _/s/ James M. Garner____________
                                                             JAMES M. GARNER




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